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  The relief described hereinbelow is SO ORDERED.



  Signed May 05, 2022.

                                                        __________________________________
                                                               H. CHRISTOPHER MOTT
                                                        UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION

   IN RE:                                         §
   FLIX BREWHOUSE NM LLC                          §   Case No. 21-30676-hcm
               Debtor.                            §   (Chapter 11; Subchapter V)

   FLIX BREWHOUSE NM LLC; and                     §
   FLIX ENTERTAINMENT LLC                         §
      Plaintiffs,                                 §     Adversary No. 21-03029-hcm
   v.                                             §
   VILLAGE @ LA ORILLA LLC                        §
       Defendant.                                 §


                             FIRST AMENDED SCHEDULING ORDER

          On April 27, 2022, the Court conducted a scheduling conference in this adversary
   proceeding upon the joint motion of the parties in this case. Appearing at the scheduling
   conference were respective counsel for Flix Brewhouse NM LLC and Flix Entertainment
   LLC, plaintiffs in this adversary proceeding (collectively “Plaintiffs”) and counsel for Village
   @ La Orilla LLC, defendant in this adversary proceeding (“Defendant”). After considering
   the pleadings and the statements of counsel, the Court finds that pursuant to Rule 16 of
   the Federal Rules of Civil Procedure, the following First Amended Scheduling Order
   should be entered in this adversary proceeding, which amends and supersedes this
   Court’s Scheduling Order entered in this adversary proceeding on January 11, 2022. (Dkt.
   14).


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          IT IS HEREBY ORDERED AND NOTICE IS HEREBY GIVEN AS FOLLOWS:

          1.     The parties shall file all amended or supplemental pleadings and shall join
   additional parties on or before February 3, 2022. See L. Rule 7015.

          2.     All parties asserting or resisting claims for relief shall serve on all other
   parties, but not file, the disclosures required by Rule 26(a)(1) of the Federal Rules of Civil
   Procedure, on or before January 24, 2022.

          3.   The parties shall exchange proposed stipulations of fact in the case on or
   before February 4, 2022.

         4.      The parties shall issue written discovery requests, including interrogatories,
   requests for production of documents, and requests for admission no later than May 19,
   2022. Responses to all written discovery requests shall be made no later than June 8,
   2022.

          5.      All parties asserting or resisting claims for relief shall serve on all other
   parties, but not file, the disclosure of experts required by Rule 26(a)(2) of the Federal
   Rules of Civil Procedure, on or before June 8, 2022.

          6.     The parties shall complete discovery on or before July 7, 2022. Counsel
   may, by agreement, continue discovery beyond the deadline, but there will be no
   intervention by the Court except in extraordinary circumstances.

           7.     All dispositive motions shall be filed and served on all other parties on or
   before July 28, 2022, and shall be limited to 20 pages. See L. Rule 7007(a) for the
   definition of dispositive motions and page limits. Responses shall be filed and served on
   all other parties not later than 21 days of the service of the motion and shall be limited to
   20 pages. See L. Rule 7007(b)(2). Any replies shall be filed and served on all other parties
   not later than 7 days of the service of the response and shall be limited to 10 pages, but
   the Court need not wait for the reply before ruling on the motion. See L. Rule 7007(c). All
   other motions in this adversary proceeding, unless unopposed, require the filing of a
   written response within 14 days, or the motion may be granted without a hearing.

         8.    Motions other than Rule 12 or 56 are governed by L. Rule 7007, 9013, and
   9014 where applicable.

           9. This case is set for docket call to set this matter for trial (the “Trial”) on
   September 7, 2022, at 10:00 a.m. CT / 9:00 a.m. MT via at
   us−courts.webex.com/meet/Mott, through the Cisco WebEx Meetings application. Parties
   may also attend the hearing by phone at 650−479−3207 with access code 160 357
   6609#. The Trial in this case originally scheduled for June 8 and 9, 2022, is hereby
   cancelled.


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         10.    A JOINT Pre-trial Order shall be filed by August 30, 2022. Separate
   proposed findings of fact and conclusions of law, and trial briefs shall also be filed by
   August 30, 2022. See L. Rule 7016(c) and (d).

          11.    The Joint Pre-Trial Order shall include a list of exhibits and a list of
   witnesses for each party. By the same date as the proposed Joint Pre-Trial Order is filed,
   the parties should also exchange exhibits.

           12.    Plaintiffs should label their exhibits as P-1, P-2, etc., and Defendant should
   label its exhibits as D-1, D-2, etc. Counsel should attempt to coordinate their efforts to
   avoid having multiple copies of the same exhibit. Counsel should confer in advance of the
   Trial and stipulate as to the admissibility of exhibits at the commencement of the Trial to
   the extent possible. Exhibits should be bound, labeled, tabbed and indexed. Three bound
   sets of exhibits should be delivered to the Court by August 31, 2022.

          13.   Counsel are reminded that, with regard to any paper that is filed, compliance
   with Fed. R. Civ. P. 5.2 is mandatory. As such, counsel should ensure that appropriate
   redactions are made.

          14.     This Scheduling Order does not specifically address the discovery of
   electronically stored information (ESI). To the extent the parties believe that ESI is subject
   to discovery, the parties are directed to reach an agreement on production of ESI. The
   parties are encouraged to use the template developed by the Seventh Circuit Electronic
   Discovery Pilot Program. Any party may bring any dispute regarding the discovery of ESI,
   but it must be brought to the Court’s attention by motion 30 days after Rule 26(a)(1)
   disclosures are made.

         15.   All discovery must be commenced and completed by the discovery
   deadline provided in this Order.

                 a.     Counsel are encouraged to resolve discovery disputes by
   agreement. Motions to compel, motions for protective orders and similar motions, while
   not prohibited, may result in sanctions being imposed on the losing party or both parties.

                b.     All discovery shall be commenced at a time which allows for the full
   response time provided by applicable rules on or before the discovery deadline.

                  c.    The Court may, upon motion and for cause shown, extend, reduce,
   or otherwise modify the deadlines set out in the Scheduling Order. Mere agreement of
   the parties to such extensions or modifications is not of itself sufficient cause.

          13.     Counsel must confer prior to the date the proposed Joint Pre-Trial Order is
   required to be filed, to fully explore the possibility of settlement, to stipulate to matters not
   in dispute and to simplify the issues. The Joint Pre-Trial Order shall contain a certificate
   to the effect that the conference of counsel has been held.



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          14.    On or before April 22, 2022, authorized representatives of each of the
   parties and their respective counsel, shall conduct and have completed a formal
   mediation with a third-party mediator. The mediation may be conducted in-person or by
   remote means as agreed by the parties and the mediator. The identity of the mediator
   shall be agreed upon by the parties, and in the absence of agreement, the Court will
   appoint a mediator upon motion by any party. The cost of the mediation shall be borne
   equally by the parties, unless otherwise agreed by the parties. The Subchapter V trustee
   may attend the mediation if he desires. Promptly upon completion of the mediation, the
   parties shall file a short notice with the Court advising whether the mediation was
   successful. Formal mediation is not necessary if the parties are able to resolve their
   disputes prior to the deadline for completing a formal mediation.



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   APPROVED AND SUBMITTED BY:

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